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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA


vs.                                                    Case No. 3:08cr83/LAC

CORPORATE HORIZONS, INC.
_______________________________

                     PRELIMINARY ORDER OF FORFEITURE

        WHEREAS, in the Indictment in the above-entitled action, the United States

sought forfeiture from the defendant CORPORATE HORIZONS, INC. pursuant to Title

18, United States Code, Sections 981(a)(1), 982(a)(1), (a)(2)(B) and (b)(1), and Title 28,

United States Code, Section 2461(c), the defendant’s interests in any property, real or

personal, involved in the violations set forth in Counts One and Two of said Indictment

and/or any property traceable to such property;

        AND WHEREAS, on or about October 22, 2008, the defendant, CORPORATE

HORIZONS, INC., pled guilty to Counts One and Two of the Indictment pursuant to a

written plea and cooperation agreement outlining such forfeiture;

        AND WHEREAS, by virtue of said plea agreement, the United States is now

entitled to entry of a Preliminary Order of Forfeiture against all of defendant’s interest in

said property, pursuant to Title 18, United States Code, Sections 981(a)(1), 982(a)(1),

(a)(2)(B) and (b)(1), and Title 28, United States Code, Section 2461(c) of the Federal
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Rules of Criminal Procedure; now wherefore,

       IT IS HEREBY ORDERED:

       1.      That all of defendant’s rights and interest in the property described below

is hereby forfeited to and vested in the United States of America.

       2.      That property which is subject to forfeiture in this Order is as follows:

               A.     $4,600 in U.S. currency seized from the residence of the defendant,

                      VENKATESH AELOGONDA which is also the headquarters of

                      defendant CORPORATE HORIZONS, INC.

       3.      That a Preliminary Order of Forfeiture is hereby entered in favor of the

United States against defendant, CORPORATE HORIZONS, INC., pursuant to Rule

32.2(b)(1) of the Federal Rules of Criminal Procedure

       IT IS SO ORDERED this 29th day of January, 2009.




                                      s /L.A. Collier
                                      LACEY A. COLLIER
                                      SENIOR UNITED STATES DISTRICT JUDGE




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